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LOAN AMORTIZATION SCHEDULE
                                                           LOAN SUMMARY
      Loan amount                 $317,573.82              Scheduled payment                      $5,777.22
      Annual interest rate              3.50%              Scheduled number of payments                  60
      Loan period in years                  5              Actual number of payments                     60
      Number of payments per year          12              Total early payments                       $0.00
      Start date of loan            5/1/2020               Total interest                        $29,059.51

      Optional extra payments                              LENDER NAME                            First Bank

PMT        BEGINNING            SCHEDULED          EXTRA           TOTAL                                           ENDING    CUMULATIVE
                                                                                   PRINCIPAL   INTEREST
NO           BALANCE              PAYMENT       PAYMENT         PAYMENT                                           BALANCE       INTEREST
1        $317,573.82            $1,153.12          $0.00       $1,153.12           $226.86     $926.26         $317,346.96      $926.26
2        $317,346.96            $1,153.12          $0.00       $1,153.12           $241.01     $912.11         $317,105.95     $1,838.37
3        $317,105.95            $1,153.12          $0.00       $1,153.12           $255.20     $897.92         $316,850.75     $2,736.29
4        $316,850.75            $1,153.12          $0.00       $1,153.12           $269.43     $883.69         $316,581.32     $3,619.98
5        $316,581.32            $1,153.12          $0.00       $1,153.12           $283.71     $869.41         $316,297.61     $4,489.39
6        $316,297.61            $1,153.12          $0.00       $1,153.12           $298.02     $855.10         $315,999.59     $5,344.49
7        $315,999.59            $1,153.12          $0.00       $1,153.12           $312.38     $840.74         $315,687.21     $6,185.23
8        $315,687.21            $3,127.56          $0.00       $3,127.56          $2,301.21    $826.35         $313,386.00     $7,011.58
9        $313,386.00            $4,238.07          $0.00       $4,238.07          $3,426.16    $811.91         $309,959.84     $7,823.49
10       $309,959.84            $4,238.06          $0.00       $4,238.06          $3,440.64    $797.42         $306,519.20     $8,620.91
11       $306,519.20            $5,442.38          $0.00       $5,442.38          $4,659.48    $782.90         $301,859.72     $9,403.81
12       $301,859.72            $5,442.54          $0.00       $5,442.54          $4,674.21    $768.33         $297,185.51    $10,172.14
13       $297,185.51            $5,777.22          $0.00       $5,777.22          $5,023.50    $753.72         $292,162.01    $10,925.86
14       $292,162.01            $5,777.22          $0.00       $5,777.22          $5,038.15    $739.07         $287,123.86    $11,664.93
15       $287,123.86            $5,777.22          $0.00       $5,777.22          $5,052.84    $724.38         $282,071.02    $12,389.31
16       $282,071.02            $5,777.22          $0.00       $5,777.22          $5,067.58    $709.64         $277,003.44    $13,098.95
17       $277,003.44            $5,777.22          $0.00       $5,777.22          $5,082.36    $694.86         $271,921.08    $13,793.81
18       $271,921.08            $5,777.22          $0.00       $5,777.22          $5,097.18    $680.04         $266,823.90    $14,473.85
19       $266,823.90            $5,777.22          $0.00       $5,777.22          $5,112.05    $665.17         $261,711.85    $15,139.02
20       $261,711.85            $5,777.22          $0.00       $5,777.22          $5,126.96    $650.26         $256,584.89    $15,789.28
21       $256,584.89            $5,777.22          $0.00       $5,777.22          $5,141.92    $635.30         $251,442.97    $16,424.58
22       $251,442.97            $5,777.22          $0.00       $5,777.22          $5,156.91    $620.31         $246,286.06    $17,044.89
23       $246,286.06            $5,777.22          $0.00       $5,777.22          $5,171.95    $605.27         $241,114.11    $17,650.16
24       $241,114.11            $5,777.22          $0.00       $5,777.22          $5,187.04    $590.18         $235,927.07    $18,240.34
25       $235,927.07            $5,777.22          $0.00       $5,777.22          $5,202.17    $575.05         $230,724.90    $18,815.39
26       $230,724.90            $5,777.22          $0.00       $5,777.22          $5,217.34    $559.88         $225,507.56    $19,375.27
27       $225,507.56            $5,777.22          $0.00       $5,777.22          $5,232.56    $544.66         $220,275.00    $19,919.93
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LOAN AMORTIZATION SCHEDULE
                                                           LOAN SUMMARY
      Loan amount                 $317,573.82              Scheduled payment                      $5,777.22
      Annual interest rate              3.50%              Scheduled number of payments                  60
      Loan period in years                  5              Actual number of payments                     60
      Number of payments per year          12              Total early payments                       $0.00
      Start date of loan            5/1/2020               Total interest                        $29,059.51

      Optional extra payments                              LENDER NAME                            First Bank

PMT        BEGINNING            SCHEDULED          EXTRA           TOTAL                                           ENDING    CUMULATIVE
                                                                                   PRINCIPAL   INTEREST
NO           BALANCE              PAYMENT       PAYMENT         PAYMENT                                           BALANCE       INTEREST
28       $220,275.00            $5,777.22          $0.00       $5,777.22          $5,247.82    $529.40         $215,027.18    $20,449.33
29       $215,027.18            $5,777.22          $0.00       $5,777.22          $5,263.13    $514.09         $209,764.05    $20,963.42
30       $209,764.05            $5,777.22          $0.00       $5,777.22          $5,278.48    $498.74         $204,485.58    $21,462.17
31       $204,485.58            $5,777.22          $0.00       $5,777.22          $5,293.87    $483.35         $199,191.70    $21,945.51
32       $199,191.70            $5,777.22          $0.00       $5,777.22          $5,309.31    $467.91         $193,882.39    $22,413.42
33       $193,882.39            $5,777.22          $0.00       $5,777.22          $5,324.80    $452.42         $188,557.59    $22,865.84
34       $188,557.59            $5,777.22          $0.00       $5,777.22          $5,340.33    $436.89         $183,217.27    $23,302.74
35       $183,217.27            $5,777.22          $0.00       $5,777.22          $5,355.90    $421.32         $177,861.36    $23,724.05
36       $177,861.36            $5,777.22          $0.00       $5,777.22          $5,371.53    $405.69         $172,489.84    $24,129.75
37       $172,489.84            $7,392.60          $0.00       $7,392.60          $7,002.57    $390.03         $165,487.26    $24,519.77
38       $165,487.26            $7,392.60          $0.00       $7,392.60          $7,018.29    $374.31         $158,468.98    $24,894.09
39       $158,468.98            $7,392.60          $0.00       $7,392.60          $7,034.04    $358.56         $151,434.93    $25,252.64
40       $151,434.93            $7,392.60          $0.00       $7,392.60          $7,049.85    $342.75         $144,385.09    $25,595.40
41       $144,385.09            $7,392.60          $0.00       $7,392.60          $7,065.70    $326.90         $137,319.39    $25,922.30
42       $137,319.39            $7,392.60          $0.00       $7,392.60          $7,081.60    $311.00         $130,237.79    $26,233.30
43       $130,237.79            $7,392.60          $0.00       $7,392.60          $7,097.54    $295.06         $123,140.25    $26,528.36
44       $123,140.25            $7,392.60          $0.00       $7,392.60          $7,113.53    $279.07         $116,026.72    $26,807.43
45       $116,026.72            $7,392.60          $0.00       $7,392.60          $7,129.56    $263.04         $108,897.16    $27,070.47
46       $108,897.16            $7,392.60          $0.00       $7,392.60          $7,145.65    $246.95         $101,751.51    $27,317.42
47       $101,751.51            $7,392.60          $0.00       $7,392.60          $7,161.78    $230.82          $94,589.73    $27,548.24
48        $94,589.73            $7,392.60          $0.00       $7,392.60          $7,177.95    $214.65          $87,411.78    $27,762.89
49        $87,411.78            $7,392.60          $0.00       $7,392.60          $7,194.18    $198.42          $80,217.60    $27,961.31
50        $80,217.60            $7,392.60          $0.00       $7,392.60          $7,210.45    $182.15          $73,007.15    $28,143.46
51        $73,007.15            $7,392.60          $0.00       $7,392.60          $7,226.77    $165.83          $65,780.38    $28,309.29
52        $65,780.38            $7,392.60          $0.00       $7,392.60          $7,243.14    $149.46          $58,537.25    $28,458.76
53        $58,537.25            $7,392.60          $0.00       $7,392.60          $7,259.55    $133.05          $51,277.70    $28,591.81
54        $51,277.70            $7,392.60          $0.00       $7,392.60          $7,276.01    $116.59          $44,001.68    $28,708.39
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LOAN AMORTIZATION SCHEDULE
                                                           LOAN SUMMARY
      Loan amount                 $317,573.82              Scheduled payment                      $5,777.22
      Annual interest rate              3.50%              Scheduled number of payments                  60
      Loan period in years                  5              Actual number of payments                     60
      Number of payments per year          12              Total early payments                       $0.00
      Start date of loan            5/1/2020               Total interest                        $29,059.51

      Optional extra payments                              LENDER NAME                            First Bank

PMT        BEGINNING            SCHEDULED          EXTRA           TOTAL                                          ENDING    CUMULATIVE
                                                                                   PRINCIPAL   INTEREST
NO           BALANCE              PAYMENT       PAYMENT         PAYMENT                                          BALANCE       INTEREST
55         $44,001.68           $7,392.60          $0.00       $7,392.60          $7,292.52    $100.08         $36,709.16    $28,808.47
56         $36,709.16           $7,392.60          $0.00       $7,392.60          $7,309.08     $83.52         $29,400.08    $28,891.99
57         $29,400.08           $7,392.60          $0.00       $7,392.60          $7,325.69     $66.91         $22,074.39    $28,958.90
58         $22,074.39           $7,392.60          $0.00       $7,392.60          $7,342.34     $50.26         $14,732.05    $29,009.16
59         $14,732.05           $7,392.60          $0.00       $7,392.60          $7,359.05     $33.55          $7,373.00    $29,042.71
60          $7,373.00           $7,389.78          $0.00       $7,373.00          $7,356.20     $16.80              $0.00    $29,059.51




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